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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                        STATE SBORO DIVISION

UNITED STATES OF AMERICA            )
                                    )
V.                                  )     Case No. CR609-048
                                    )
FRANK JAMAL CURRY                   )


                  REPORT AND RECOMMENDATION

       Defendant seeks leave to proceed in forma pauperis ("IFP") in

pursuing his appeal of the Court's decision to deny his 28 U.S.C. §

3582(c)(2) sentence reduction motion. (Doc. 1003.) Despite his apparent

poverty, however, "[aln appeal may not be taken in forma pauperis if the

trial court certifies in writing that it is not taken in good faith." 28

U.S.C. § 1915(a)(3). A defendants good faith is demonstrated when he

seeks appellate review of any issue that is not frivolous. United States v.

Alvarez, 506 F. Supp. 2d 1285, 1290 (S.D. Fla. 2007), citing Coppedge v.

United States, 369 U.S. 438 (1962). Hence, an application to appeal in

forma pauperis may be denied "if it appears -- objectively -- that the

appeal cannot succeed as a matter of law." Id., citing DeSantis v. United

Technologies Corp., 15 F. Supp. 2d 1285, 1289 (M.D. Fla. 1998), affd, 193
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F.3d 522 (11th Cir. 1999). Further, a case is frivolous for IFP purposes if

it appears there is "little or no chance of success." Id., citing Carroll v.

Gross, 984 F.2d 392, 393 (11th Cir. 1993).

     Here, the district judge, exercising his discretion, declined to reduce

Curry's sentence under the Fair Sentencing Act of 2010, Pub. L. 111-220

and related United States Sentencing Guidelines provisions. (Doc. 982.)

Curry has not offered any facts or argument suggesting that the judge's

decision amounted to an abuse of discretion. Hence, the Court certifies

that Curry's appeal is not taken in good faith under 28 U.S.C. § 1915.

His motion to proceed IFP on appeal should be DENIED.

     SO REPORTED AND RECOMMENDED this                                day of

March, 2012.

                                         UNITED'SrAtES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




                                     2
